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                         UNITED STATES BANKRUPTCY COURT
                          SOUTHERN DISTRICT OF FLORIDA
                                  MIAMI DIVISION

                                                                  CASE NO.: 15-17362-BKC-RAM
                                                                PROCEEDING UNDER CHAPTER 13

IN RE:

LUCIA TERESA GEDO

_____________________________/
DEBTOR

                   NOTICE CONTINUING TRUSTEE'S MOTION TO DISMISS

   YOU ARE HEREBY NOTIFIED that the Trustee's Motion to Dismiss Chapter 13 Case has been
continued to August 11, 2020 at 9:00 AM by TELEPHONE. To participate call, Court Solutions
(917)746-7476. If a party is unable to register online (https://www.court-solutions.com), a reservation
may also be made by telephone at (917) 746-7476.

  I HEREBY CERTIFY that a true and correct copy of the foregoing Notice Continuing Trustee's
Motion to Dismiss was mailed to those parties listed on this 27th day of July, 2020.




                                                        /s/ Nancy K. Neidich
                                                       _____________________________________
                                                        NANCY K. NEIDICH, ESQUIRE
                                                        STANDING CHAPTER 13 TRUSTEE
                                                        P.O. BOX 279806
                                                        MIRAMAR, FL 33027-9806
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                                               NOTICE CONTINUING TRUSTEE'S MOTION TO DISMISS
                                                                   CASE NO.: 15-17362-BKC-RAM

                                   SERVICE LIST

COPIES FURNISHED TO:

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STANDING CHAPTER 13 TRUSTEE
P.O. BOX 279806
MIRAMAR, FL 33027-9806

DEBTOR
LUCIA TERESA GEDO
210 172 STREET #527
SUNNY ISLES BEACH, FL 33160-3436

ATTORNEY FOR DEBTOR
ROBERT SANCHEZ, ESQUIRE
355 W 49 STREET
HIALEAH, FL 33012

ROBERT SANCHEZ, ESQUIRE IS HEREBY DIRECTED TO MAIL A CONFORMED COPY OF THIS
NOTICE TO ALL CREDITORS AND INTERESTED PARTIES IMMEDIATELY UPON RECEIPT
THEREOF.
